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[jiffyordnh] [Bench Order No Hearing +]



                                              ORDERED.
   Dated: December 11, 2024




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                     Case No. 6:18−bk−06821−LVV
                                                                           Chapter 7

Don Karl Juravin
aka Don Adi Juravin




________Debtor*________/


   ORDER DENYING AS MOOT MOTION TO APPEAR REMOTELY VIA ELECTRONIC MEANS

            THIS CASE came on for consideration without a hearing of the Motion to Appear Remotely
         Via Electronic Means (Doc. 1071 ), filed by Debtor Don Juravin .

           The Court having considered the record, the Motion to Appear Remotely Via Electronic
         Means is Denied as Moot .



            The Court in its discretion may file written findings of facts and conclusions of law at a later
         date.

            Service Instructions:

            The Clerk's office is directed to serve a copy of this order on interested non−CM/ECF users.

         *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by
         two individuals.
